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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
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HUDA FAKHREDDINE,
EVE TROUTT POWELL, and PENN
FACULTY FOR JUSTICE IN PALESTINE,                                   CASE NO: 24-cv-01034-KNS

                                   Plaintiffs,                      AMENDED COMPLAINT

        -against-

THE UNIVERSITY OF PENNSYLVANIA,

                                   Defendants,

------------------------------------------------------------x

        Plaintiffs Huda Fakhreddine, EveTroutt Powell, and Penn Faculty for Justice in Palestine,

plaintiffs, for their Amended Complaint against the defendant University of Pennsylvania

(“Penn”) allege as follows:



                                     PRELIMINARY STATEMENT

             1. This nation is seeing the advent of a new form of McCarthyism, in which

                 accusations of anti-Semitism are substituted for the insinuations of Communist

                 leanings which were the tool of oppression in the 1950’s.

             2. The House Committee on Education and the Workforce (the “House Committee”)

                 has eagerly assumed the role of the House Unamerican Activities Committee of

                 old (“HUAC”). On December 5, 2023, the Presidents of the University of

                 Pennsylvania, Harvard, and MIT were called before the House Committee and

                 asked questions which were intentionally phrased to place them in a false light as

                 to their actions to combat anti-Semitism. This bad faith questioning was so
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    effective that two of the three presidents have since been forced to resign,

    including Elizabeth Magill of Penn.

 3. The House Committee has eagerly joined billionaire donors, pro-Israel groups,

    other litigants, and segments of the media in accusing Penn of being a pervasively

    anti-Semitic environment (which it is not) — but to advance this narrative, every

    one of these participants in the hue-and-cry, including the House Committee, have

    asserted that anti-Zionism, and in fact virtually any criticism of the state of Israel,

    is anti-Semitism.

 4. Criticisms of the nation-state, Israel, including statements of anti-Zionism, are

    First Amendment-protected speech. The new McCarthyism has, since long before

    October 7, been highly successful at getting individuals fired from jobs, expelled

    or suspended from universities, denied tenure or advancement, demoted from

    prominent media roles, and dropped by entertainment agents, as well as

    successfully obtaining the rescission of offers of employment, and of invitations

    to participate in conferences and workshops, speaking engagements and numerous

    other opportunities. This new McCarthyism, which was growing slowly before

    the Hamas atrocities on October 7, 2023, but is surging up very rapidly now, has

    already been hugely successful at ending careers and blighting lives, just like its

    predecessor.

 5. Individual plaintiffs are tenured Penn professors who have been threatened,

    accused, and doxxed for the subject matter they teach, and their First Amendment

    protected criticism of Israel and their advocacy for Palestinians and the people of

    Gaza. Neither of them is an anti-Semite, but both have been falsely accused of




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    bias towards Jews.

 6. Plaintiff Fakhreddine is an Arab American who additionally has been reviled for

    her national origin and ethnicity. Two members of the House Committee, relying

    uncritically and likely maliciously on false narratives, mentioned her by name on

    national television during the hearing, falsely accusing her of antisemitism and

    demanding she be fired.

 7. The House Committee sent a letter to Penn (the “Information Letter”) demanding

    the production of many categories of information, including documents pertaining

    to criticism of Israel and pro-Palestinian speech by faculty and students, private

    FERPA-protected student disciplinary files and documents pertaining to an annual

    scholarly event produced by plaintiff Fakhreddine focusing on Palestinian

    literature, the Palestine Writes Festival. Since this was not a subpoena but a letter

    requesting voluntary compliance, Penn would have been within its rights to

    protect its community by refusing compliance. Instead, Penn, its trustees off

    balance and frightened by the accusations of anti-Semitism, announced it would

    comply with the House Committee's letter, and, on information and belief, has

    begun producing documents.

 8. Penn's voluntary compliance with the Information Letter has already harmed

    Plaintiffs and will continue to do so, threatening the privacy, safety, academic

    freedom and careers of the individual Plaintiffs and of many other members of the

    Penn Faculty for Justice in Palestine.




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                               THE PARTIES

 9. Plaintiff Huda Fakhreddine, a professor at Penn, is a leading scholar of Arabic

    literature, whose work focuses on modernist movements or trends in Arabic

    poetry and their relationship to the Arabic literary tradition.

 10. Plaintiff Eve Troutt Powell is a professor of History and Africana Studies at Penn,

    and a former President of the Middle East Studies Association.

 11. Plaintiff Penn Faculty for Justice in Palestine (“PFJP”) is a collective of faculty,

    students, staff, researchers, and graduate employees at the University of

    Pennsylvania who support Palestinian human rights and liberation from Israeli

    occupation.

 12. The University of Pennsylvania is a private university, also known as the Trustees

    of the University of Pennsylvania, which is organized under the laws of

    Pennsylvania and located in Philadelphia, Pennsylvania.



                      JURISDICTION AND VENUE

 13. This Court has subject matter jurisdiction under 28 U.S.C. § 1331.

 14. This Court has personal jurisdiction over Penn because it is based and operates in

    Philadelphia, Pennsylvania.

 15. Venue in this District is proper under 28 U.S.C. § 1391 because it is the judicial

    district in which a substantial part of the events or omissions giving rise to

    plaintiffs’ claims occurred and where Penn is located.




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               FACTS WHICH ESTABLISH STANDING

 16. Plaintiff Huda Fahreddine has been personally threatened, her safety endangered,

    by the making of false accusations against her by the House Committee. By

    giving them more confidential documents about her, Penn is assisting the House

    Copmmittee in continuing to target, oppress and harm Dr. Fakhreddine.

 17. At the December 5 hearing of the House Committee, Committee member Joe

    Wilson of South Carolina, delivering an exemplary and enthusiastic

    McCarthyesque performance, demanded that Defendant's then President,

    Elizabeth Magill inform him what percentage of Penn professors are

    conservatives, concluded that the answer was “zero”, blasted diversity, equity and

    inclusion, finally naming plaintiff Fakhreddine, to whom he has never spoken, but

    only received false and hateful doxxing “information”, and asking, “How are

    Jewish students in Fakhreddine’s classes supposed to receive fair treatment when

    she endorses hatred?”

 18. At the same hearing, Committee member Jim Banks of Indiana, in another

    exemplary McCarthyist performance, after asking Magill why she invited anti-

    Semites to the Palestinian Writes Festival, cast doubt on whether she had issued a

    condemnation of anti-Semitism, claiming he hadn't been able to find it, then

    demanded to know why Plaintiff Fakhreddine “still [has] a job at your

    university”.

 19. The Information Letter the House Committee then sent to the Defendant on

    January 24, 2024 , demanding the production of numerous documents made

    specific reference to Plaintiff Fakhreddine as follows: “Associate Professor of



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    Arabic Literature Huda Fakhreddine publicly celebrated the attack on the morning

    of October 7, tweeting in Arabic that 'while we were asleep, Palestine invented a

    new way of life.' At an October 16, 2023, anti Israel protest on Penn’s campus,

    Fakhreddine said, 'Israel is the epitome of antisemitism … it desecrates the

    memory of the Holocaust victims. It humiliates every Jewish person.' Fakhreddine

    also applauded a speaker’s statement that Jews should 'go back to Moscow,

    Brooklyn, Gstaad, or fucking Berlin where you came from.'”

 20. All of these assertions were derived from doxing “information”. Some are entirely

    false, others taken out of context, and none represent the results of a conversation

    with Fakhreddine by the House Committee or staff, or any kind of neutral, fair

    investigation. Instead, they are opportunistic, amoral attacks and libels intended

    simply for political gain.

 21. In fact, this McCarthyite and shameful rhetoric of the House Committee and its

    members represents no valid legislative purpose.

 22. No statement actually made by Plaintiff Fakhreddine was antisemitic; and all are

    First Amendment-protected.

 23. The Information Letter also falsely refers to the Palestine Writes Literature

    Festival, co-organized by Dr. Fakhreddine, as “virulent[ly] antisemiti[c]” and

    falsely claims that “Multiple speakers engaged in antisemitic hate speech at the

    Penn-hosted and sponsored festival itself”.

 24. The Information Letter contains specific demands for categories of documents, to

    which those referencing Plaintiff Fakhreddine are responsive. For example,

    request #4 calls for “Documents sufficient to show the findings and results of any

    disciplinary processes, changes in academic status, or personnel actions by Penn


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    toward Penn students, faculty, staff, and other Penn affiliates related to conduct

    involving the targeting of Jews, Israelis, Israel, Zionists, or Zionism since January

    1, 2021”.

 25. Request #6 states: “All documents and communications relating to or reflecting

    sources of funding for Penn Students Against the Occupation, the Palestine Writes

    Festival, and the Freedom School for Palestine, including but not limited to

    university, departmental, faculty, and student organization funds, as well as

    foreign donations”. Requests #12 and 16 also call for information about Palestine

    Writes.

 26. Request #7 calls for: “Documents sufficient to show findings and results of any

    disciplinary processes, changes in academic status, or personnel actions by Penn

    toward Penn students, faculty, staff, student organizations, and other Penn

    affiliates as a result of: a. allegations of hate crimes, discrimination, bias, or

    harassment on the basis of religion, ethnicity, national origin, sex, sexual

    orientation, gender identity, and disability at Penn since January 1, 2021; b.

    Reports of denial or disruption of access to safe and uninterrupted learning

    environments at Penn since January 1, 2021”.

 27. Request #16 states: “All documents and communications, including, but not limited

    to, those involving the Office of the President, Office of the Provost (including

    University Life), Division for Public Safety (including Penn Police Department),

    Penn Human Resources, and/or any other entities responsible for investigating and

    determining consequences for misconduct and violations of university standards,

    referring and relating to:....(c) Posts by Penn students, faculty, staff, and other Penn

    affiliates on Sidechat and other social media platforms targeting Jews, Israelis, Israel,

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    Zionists, or Zionism;     (d)Anti-Israel protests at Penn, and any disruptions to

    education and student life related to them, since October 7, 2023, including but not

    limited to the October 16, 2023, protest, Palestine Freedom School, and December 3,

    2023, protest”.

 28. Request #17 demands: “All documents and communications including, but not

    limited to, those involving the Office of the President, Office of the Provost

    (including University Life and its Office of Diversity, Equity, Inclusion, &

    Belonging), and/or any academic departments, programs, and centers, referring or

    relating to any efforts by Penn students, faculty, and staff to engage in the BDS

    movement against Israel since January 1, 2021, and communications by Penn

    administrators relating to such efforts”.

 29. Many other requests are for documents which might mention Plaintiff

    Fakhreddine, for example, Request #1 for “All reports of antisemitic acts or

    incidents” made to the President or General Counsel's office; and # 9, “ All

    documents and communications since January 1, 2021, referring and relating to

    antisemitism involving the Office of the President and Office of the Provost”.

 30. Defendant by now on information and belief has produced documents about

    Fakhreddine to the House Committee.

 31. On February 27, 2024, the Daily Pennsylvanian reported that Defendant had

    begun sending documents to the House Committee. “[T]he University

    spokesperson told the DP that the process of transferring documents would last

    multiple weeks....A House education committee spokesperson confirmed to the

    DP that the committee has received documents and is currently reviewing them.”

    Ethan Crawford, “Penn begins submitting documents to House education


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    committee      for   antisemitism       investigation”,   The   Daily   Pennsylvanian

    https://www.thedp.com/article/2024/02/penn-congress-house-education-

    workforce-investigation-submit-documents

 32. The transfer of documents about her to the House Committee harms and threatens

    Plaintiff Fakhreddine.

 33. The House Committee, as was evidenced by the statement made by

    Congressperson Banks at the December hearing, is attempting to pressure and

    bully Defendant to terminate Plaintiff Fakhreddine.

 34. A dishonorable, McCarthyite tactic used by the House Committee is “jawboning”,

    beating up targets such as Penn,            via accusations such as those made by

    Congresspeople Banks and Wilson that Penn is failing to terminate, censor,

    sanction and chill purported “antisemites”, who are in reality critics of Israel.

 35. The House Committee uses any information in its possession, from whatever

    source, to accomplish its goals, including the doxing “information” already

    shamefully used by Congresspeople Banks and Wilson to slander Dr.

    Fakhreddine.

 36. The House Committee has no legal obligation, nor has it made any promise, to

    keep any information received from Penn or any other source confidential, but

    remains free to distribute it to the press and to members, include it in releases,

    reports and letters, or post it on the Internet-- all of which it has already done.

 37. The publication by the House Committee of any documents received by Penn

    about Plaintiff Fakhreddine will encourage anonymous Internet trolls to send her

    death threats and hate speech to her university and private emails and to her



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      university and private phones, all of which she has been receiving in substantial

      amounts since the Congresspeople mentioned her in December.

  38. In its June 24, 2024 memorandum dismissing the original Complaint, this Court

      said: “Plaintiffs do not allege whether documents Penn plans to produce would

      include their personal contact information such as home addresses.”

  39. This is beside the point.

  40. On the one hand, Penn certainly possesses documents whuch contain Dr.

      Fakhreddine's address and phone number; she is, after all, Penn's employee.

  41. The extreme vagueness of the Information Letter, and the secrecy surrounding Penn's

      response, makes it impossible for Plaintiffs to know, at this stage of the case, and

      prior to discovery, what Penn has produced.

  42. For example, Request #1 calls for “All reports of antisemitic acts or incidents and

      related documents and communications since January 1, 2021” (Emphasis added).

      How are Plaintiffs to know that their employee files containing residence and contact

      information were not consideered by Penn to be “related”? Certaainly emails to and

      from individual Plaintiffs or FSJP members and Penn administration, to or from their

      university or personal email addresses, or containing phrases like “please call me

      at....”, or containing an address in the .sig line would be produced, if responsive to

      communicatons about purported antisemitism.

  43. Penn should not have been permitted to benefit from its very intentional and studied

      vagueness about its compliance.

  44. Request #4 states: “Documents sufficient to show the findings and results of any

      disciplinary processes, changes in academic status, or personnel actions by Penn

      toward Penn students, faculty, staff, and other Penn affiliates related to conduct



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     involving the targeting of Jews, Israelis, Israel, Zionists, or Zionism since January 1,

     2021” (emphasis added). Certainly doccuments reflecting “changes in academic

     status” or “personnel actions”, which might for example be in the form of emails or

     letters via US mail, would contain contact information. (See also the similar #7.)

  45. Documents responsive to Request #6 would also be likely to contain emails, postal

     addresses and phone numbers: “All documents and communications relating to or

     reflecting sources of funding for Penn Students Against the Occupation, the Palestine

     Writes Festival, and the Freedom School for Palestine, including but not limited to

     university, departmental, faculty, and student organization funds, as well as foreign

     donations”.

  46. Request #9 is an extremely broad catch-all, which would contain any letters

     written by Plaintiffs to Penn administration on letterhead, or emails with “From:”

     information or .sig lines. (See also #11).

  47. Request 16(c) calls for “All documents and communications....referring and relating

     to: ….(c) Posts by Penn students, faculty, staff, and other Penn affiliates on Sidechat

     and other social media platforms targeting Jews, Israelis, Israel, Zionists, or

     Zionism”. These posts on social media would also contain or link to social media

     account information allowing trolls to contact Plaintiffs.

  48. On the other hand, even if Penn's disclosures contained no personal contact

     information for Plaintiffs, which is improbable, that would not affect or undermine

     Plaintiff;'s claims in any way.

  49. To bring death threats and hate speech to an individual, a statement or document

     prepared by the House Committee need not contain any contact information at all.

  50. For example, Congressman Wilson's false statement on national television that


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     “Fakhreddine.... endorses hatred” against Jews contained no other information

     about her except her affiliation with Penn-- but that was sufficient for Internet

     trolls to use the Internet to discover contact information for Plaintiff Fakhreddine.

  51. A search on anyone's name on the Internet tends to turn up information from third

     party data brokers, who without the individual's knowledge and consent, offer for

     a fee personal addresses, phone numbers and emails.

  52. There are many other ways that an individual's contact information can wind up

     on the Internet without their knowledge or intent, and most of us are insufficiently

     expert in online communications to be able to prevent this.

  53. Sociopathic Internet trolls are adept at using the Internet to discover nort only

     contact information for their targets, but that of theuir relatives, feriendsa, co-

     workers and employers, all of whom they also barrage with email.

  54. The harm is thererfore accomplished when the House Committee or a member

     says a Plaintiff's name, regardless of whether any contact information is

     associated.

  55. In his essay, “On a Supposed Right to Lie Because of Phialnthropic Concerns”,

     Immanel Kant posited that we must “honestly answer[] Yes to the murderer's

     question as to whether the intended victim is in the house”. Despite Kant's

     reasoning, most of us would instinctively withhold the information from the killer.

  56. Penn is doing the opposite. Asked by the House Committee for information that it

     can distort, twist and misrepresent in an attempt to invoke death threats and hate

     speech directed at Dr. Fakhreddine, and also to end her career, Penn is voluntarily

     complying.




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  57. In their letter to Penn counsel on January 30, 2024, the undersigned specifically

     warned Penn that its compliance with the Information letter woulkd inevitably

     lead “to increased harassment, hate, and threats,causing Dr. Fakhreddine and her

     family to fear for the safety”.

  58. Penn complied anyway.

  59. Defendant is remarkably in derogation of academic freedom and its contractual

     duties to Plaintiff, and her Constitutional rights, wilfully endangering Plaintiff

     Fakhreddine by cooperating with, and providing information about her to, the

     House Committee.

  60. Plaintiff Eve Troutt Powell similarly has standing becauase she is a faculty

     member who has taught Middle Eastern history, uttered speech and participated in

     symbolic speech criticizing Israel and supporting the people of Palestine, and

     files and documents referencing her are responsive to the Information Letter.

  61. Organizational Plaintiff Faculty for Justice in Palestine has standing because

     Plaintiffs Fakhreddine and Powell are members, as are many other faculty and

     students who are also vulnerable to McCarthyite tactics, bullying, doxing, threats

     and outside pressure because documents referencing them are responsive to the

     Information Letter and have already been produced.

  62. In addition, some members of FJP are graduate students, whose FERPA rights are

     being violated by disclosure of their files to the House Committee.

  63. Some students who are FJP members have been charged with University student

     code violations in connection with their pro-Palestinian and have undergone

     disciplinary proceedings. Student disciplinary files are covered under FERPA and



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     cannot be voluntarily produced without the student's consent.

  64. Information Letter Requests #'s 4, 5 and 7 call for confidential student

     disciplinary files.

  65. Students in disciplinary proceedings have been informed by University staff that

     their files are being sent to Defendant's counsel for production in response to the

     Information Letter.

  66. On January 30, 2024, undersigned counsel wrote to Defendant on behalf of

     Plaintiff Fakhreddine and others requesting that the “University desist from any

     disclosures to Congress which contain faculty, student, and staff names or

     identifying information...We are available, and in fact eager, to meet with your

     administration to discuss steps for collaboration that ensure the safety of student

     and faculty speech and expression.” No such meeting took place.

  67. On June 30, 2024, undersigned counsel emailed counsel for Defendant proposing

     “a meeting at which your firm, and my co-counsel and I, without clients present,

     review and discuss all documents the University has already produced which

     reference Fakhreddine”. Defendant's counsel immediately responded declining

     cooperation.

  68. The documents regarding Plaintiffs already disclosed by Defendant to the House

     Committee have inflicted cognizable harm in Plaintiffs compensable by damages.

  69. Plaintiffs maintain their request for a permanent injunction as to responsive

     documents relating to Plaintiffs which have not already been produced.




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                           COGNIZABLE HARM

  70. Penn has never denied that it has produced documents to the House Committee,

     nor that those included documents referencing or relating to Plaintiffs

     Fakhreddine and Powell and the individual student and professor members of

     PFJP.

  71. On information and belief, Penn and its counsel know perfectly well they have

     produced documents on these Plaintiffs, yet claim that the Complaint should be

     dismissed because Plaintiffs do not yet know exactly what has been produced-- so

     that harm is “speculative”.

  72. Plaintiffs have twice demanded to know what has been produced regarding their

     clients, the first time before instituting this action., and Penn has declined to

     comply.

  73. Plaintiffs respectfully request that when Penn makes its motion to dismiss this

     Amended Complaint, this Court decline to do so, at least without ordering limited

     discovery on the issue of standing, as it has authority to do under FRCP 12(b)(1).

  74. As previously mentioned,. Congressperson Joe Wilson stated at the December 5

     hearing of the House Committee: “How are Jewish students in Fakhreddine’s

     classes supposed to receive fair treatment when she endorses hatred?”

  75. Congressperson Banks demanded at the same hearing why Dr. Fakhreddine “still

     [has] a job at your university”.

  76. Both did so not as part of any proper legislative project or mission, but solely,

     dishonestly, dishonorably and viciously for perceived personal political gain and

     advantage.



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  77. Both inflicted great harm on Dr. Fakhreddine by, in mentioning her name on

     national television, knowingly causing anonymous Internet trolls to research her,

     learn her public and private phone numbers and email accounts, as well as those

     of her peers and co-workers, and to send death threats, hate speech and

     defamatory emails to her and to them.

  78. Penn by disclosing documents to the House Committee is cooperating with,

     consenting to and co-conspiring with regard to these vicious and dangerous

     attacks on Plaintiff Fakhreddine.

  79. Although Plaintiff Fakhreddine has already been “doxxed” by the House

     Committee once, this does not avoid future harm or deprive her of standing, as the

     disclosure of documents about her will enable the Committe to doxx her again,

     summoning more death threats and hate speech.

  80. Plaintiff Fakhreddine has in fact received numerous such violent, hateful,

     threatening and dangerous communications since, and as a result of, being doxxed

     by the House Committee.

  81. Other Plaintiffs who have never been doxxed by the House Committee naturally

     wish to avoid the experience.

  82. Penn has been informed and is perfectly aware that its disclosure of documents

     about Plaintiffs is harmful and dangerous to them, but has chosen to comply

     voluntarily with the House Committee, cooperating, enabling and co-conspiring

     in harming them.




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                   A COMMENT ON ANTI-SEMITISM

  83. Plaintiffs and their counsel know there is real anti-Semitism in the world.

  84. This controversy and action is not about real anti-Semitism (despite the fact that

     many hateful statements against all races, ethnicities, nationalities and religion are

     in fact also First Amendment protected per our Supreme Court).

  85. This action instead concerns the McCarthyesque use of a vague, overbroad,

     patently unconstitutional definition, which is termed “anti-Semitism” in egregious

     ontological error, to chill, punish and end virtually all moral, political, legal, and

     other criticism of the nation-state Israel.



                  THE HOUSE OF REPRESENTATIVES

  86. Congress is a state actor directly governed and limited by the First Amendment.

  87. While Congress is permitted under certain circumstances to exempt itself from the

     application of certain laws it enacts, or to waive their applicability under specific

     circumstances, Congress may not, ever, avoid the strictures imposed on it by the

     First Amendment.

  88. When it comes to allegations of anti-Semitism, however, the would-be

     McCarthyesque House of Representatives is behaving as if it never heard of the

     First Amendment.

  89. On December 5, 2023, the House passed Resolution 894 on anti-Semitism, which

     contains two statements which express a patent intention to violate the First

     Amendment rights of Americans:

  90. The first is a “Whereas” clause, “Whereas the International Holocaust



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     Remembrance Alliance's working definition of antisemitism is widely accepted”.

  91. The International Holocaust Remembrance Alliance (“IHRA”), discussed in more

     detail below, is an NGO which proposed its own private speech code, never

     intended to be enacted into law.

  92. The IHRA standards if legislated would patently violate the First Amendment; for

     example, they define as anti-Semitism the comparison of Israelis with Nazis, or

     the questioning of the right to a Jewish homeland, and even holding Israel to

     higher moral standards than other nations-- all of which, even if phrased in an

     upsetting, unpleasant way, are clearly political expression protected by the First

     Amendment.

  93. Another statement in the resolution which is even more starkly violative of the

     First Amendment occurs near the end: “resolved, that the House of

     Representatives....clearly and firmly states that anti-Zionism is antisemitism”.

  94. This grammatical English sentence is actually as ontologically, and even

     epistemologically absurd, as if the House resolved that Pi is 7.87 instead of 3.14,

     or that bananas are vegetables.

  95. Zionism is a political ideology held by some Jewish people which includes both

     pragmatic, political and some asserted faith-based elements.

  96. Many of the founders of Zionism and, later, of the Israeli state, were secular

     individuals, such as Theodor Herzl, for whom the Old Testament and religious

     justifications had nothing to do with their desire to establish a Jewish state.

  97. Today, there are numerous Jewish people in America, and through-out the world,

     who are not Zionists, and some of whom actively and publicly criticize Zionism.




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  98. For example, there are groups of Hasidic Jews who consider themselves anti-

     Zionist and who even participate in pro-Palestinian demonstrations.

  99. Also, many members of Reform Judaism are not Zionists, and criticize the actions

     of the Israeli state towards Palestinians.

  100.      Many other Jewish intellectuals, writers and critics have rejected an “Israel

     right or wrong” attitude and have publicly criticized Israel's treatment of

     Palestinians.

  101.      The militant minority which believes that Israel can do no wrong, even

     when it drops 2,000-pound bombs on civilian areas, destroying 80% of housing,

     hospitals, schools and universities, and kills thousands of children, has no trouble

     categorizing Jews criticizing Israel as anti-Semitic themselves, self-hating,

     disturbed, marginal, and not really Jews.

  102.      The House is in fact privileging a minority of the American Jewish

     population, not only over Arab Americans and all others criticizing Israel or

     supporting Palestinians-- the House is in fact privileging this militant minority

     over all Jewish Americans who do not share their views.

  103.      In its actions, the House is committing two textbook violations of the First

     Amendment, retaliation, and viewpoint discrimination.

  104.      The House is, exactly as HUAC did in the 1950's, reaching out to chill,

     threaten and punish Americans whose views it disapproves.

  105.      It is also taking sides by promoting pro-Israeli political speech over pro-

     Palestinian political speech, though both are First Amendment-protected.

  106.      It is hornbook law that even a Congressional subpoena, which the



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     Information Letter is not, must serve a legitimate legislative purpose.

  107.      Since the House cannot pass legislation stating that anti-Zionism is anti-

     Semitism or excluding criticism of Israel from the coverage of the First

     Amendment, the Information Letter serves no legitimate congressional purpose.

  108.      The House Committee is eagerly assuming the McCarthyesque role played

     by HUAC in the 1950's.

  109.      The House Committee's adoption of the unconstitutional IHRA standards

     and of the improper and untenable proposition that anti-Zionism equals anti-

     Semitism, its eager use of the Information Letter to seek confidential information

     on students in violation of the FERPA laws, its unsavory interaction with doxxing

     sites, its apparent interest in exposure of its targets to harm and censure (making

     the House Committee a doxxing site itself) and its lack of any authorization from

     the House to issue the Information Letter on this topic, all characterize it as a

     “rogue committee”, off on an illegitimate and malicious mission of its own.

  110.      The House Committee summoned President Elizabeth Magill of Penn to

     appear before it “voluntarily” on December 5, 2023, along with the Presidents of

     Harvard and MIT. Magill duly appeared as requested, answering the House

     Committee members' malicious, insinuating, trick questions, many of which were

     based on the assumption that any political criticism of Israel is anti-Semitic.

  111.      Magill, asked whether such speech violated Penn's student code of

     conduct, answered that such a determination would be “context dependent”.

  112.      This was in fact a good faith and honorable answer pursuant to the First

     Amendment and Penn's commitments regarding academic freedom.




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  113.      However, the House Committee in effect doxxed Magill, accusing her

     falsely of anti-Semitism, and bringing about a barrage of other voices demanding

     her resignation, including powerful billionaire donors holding right wing and pro-

     Israel views.

  114.      Just four days later,      Magill, unable to withstand this doxxing and

     relentless, hateful pressure, and unprotected by Penn's trustees, resigned as

     President of Penn.

  115.      Also at the December 5 hearing, House Committee members Wilson and

     Banks both mentioned Plaintiff Fakhreddine, accusing her of antisemitism and

     demanding her termination.

  116.      By the way, Wilson's use of the anti-Semitism trope to attack diversity,

     equity and inclusion on campus is very common on the far right today, and

     evocative of how the weaponized concept has little or nothing to do with the

     protection of Jewish Americans.

  117.      On January 24, 2024, the House Committee sent the Information Letter to

     Penn demanding that it produce by February 7, sixteen categories of documents,

     including certain requests with ten or eleven subcategories.

  118.      The Information Letter also mentions Plaintiff Fakhreddine by name, again

     accusing her of anti-Semitism.

  119.      Although the Information Letter is not a subpoena and has no legal

     compulsory effect, so that Penn would have been within its rights to protect the

     academic freedom and privacy of its community by refusing compliance, Penn

     has already produced documents in response.



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  120.      Famous words uttered about HUAC are of equal import today as applied to

     the House Committee. Justice Hugo Black, dissenting in Braden v. United States,

     365 U.S. 431, 444 (1961), wrote of the conviction of a civil rights activist for

     refusing to answer questions when subpoenaed before HUAC: “The very

     foundation of a true democracy and the foundation upon which this Nation was

     built is the fact that government is responsive to the views of its citizens, and no

     nation can continue to exist on such a foundation unless its citizens are wholly

     free to speak out fearlessly for or against their officials and their laws. When it

     begins to send its dissenters....to jail, the liberties indispensable to its existence

     must be fast disappearing”.

  121.      Martin Luther King then commented on Braden, endorsing Justice Black's

     dissent: “[I]f the Committee [HUAC] has unlimited powers it will misuse them.

     Braden was called before the Committee simply for his integration activities. We

     think that if the Un-American Activities Committee is to have the power to

     subpoena everyone, they will misuse the power to stand in the way of

     integration."

  122.      What today's House Committee is doing is identical: it is rooting out,

     penalizing and will soon criminalize certain First Amendment-protected speech its

     members detest.



         A THOUGHT ABOUT THE ESTABLISHMENT CLAUSE

  123.      Three religions, Judaism, Islam and Christianity, have each formulated a

     faith-based claim to the Holy Land.




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          124.      The Court, if it were to decide that anti-Zionism is anti-Semitism, would

             not only be infringing the speech and association clauses of the First Amendment,

             but also the establishment clause, by privileging one faith-based claim to the Holy

             Land over the others.



                                 THE IHRA STANDARDS

          125.       IHRA, a NGO founded in 1998, describes itself as deploying a “network

             of trusted experts [who] share their knowledge on early warning signs of present-

             day genocide and education on the Holocaust. This knowledge supports

             policymakers and educational multipliers in their efforts to develop effective

             curricula, and it informs government officials and NGOs active in global

             initiatives for genocide prevention”.

https://www.holocaustremembrance.com/about-us

          126.      The IHRA on its web site defines its standards as a “non-legally binding

             working definition”. It also specifies that “criticism of Israel similar to that

             leveled against any other country cannot be regarded as antisemitic”.

https://www.holocaustremembrance.com/resources/working-definitions-charters/working-
definition-antisemitism

          127.      Kenneth Stern, one of the drafters of the IHRA Standards, has since said:

             “It’s not the definition that’s the problem. It’s the abuse of it....There was never

             any idea that this would be used as a de facto hate speech code on campus....[I]t

             sets up a system in which administrators have a reason to either condemn or try to

             suppress pro-Palestinian speech because their job is to keep the university from

             being sued under Title VI....A lot of this comes to whether anti-Zionism is anti-

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     Semitism or not.... I don’t like government putting its thumb on the scales inside

     of a debate inside the Jewish community....Do I think it’s going to chill speech?

     Yeah, and I think that’s the purpose. ” Eric Cortelessa, “The scholar who wrote

     the definition of anti-Semitism says it’s been subverted”, January 9, 2020

     https://www.timesofisrael.com/the-scholar-who-wrote-the-definition-of-anti-

     semitism-says-its-been-subverted/



                     THE IMPACT ON PLAINTIFFS

  128.      The relentless characterization of the individual Plaintiffs and members of

     the PFJP as anti-Semitic (which they are not) has already, in addition to the hatred

     expressed against them, also created an environment of profound danger, fear and

     distrust, in which it is impossible to enjoy any semblance of academic freedom.

  129.      Plaintiffs have been doxxed on sites like the anonymous and hateful

     Canary Mission, and have received death threats, threats of violence, and hate

     speech directed at their nationality, ethnicity, gender, religion, and beliefs.

  130.      Plaintiff Fakhreddine has been excluded from faculty meetings, her emails

     to the members of her department censored, and co-sponsorship of events

     canceled.

  131.      Plaintiff Powell has been doxxed, placed on the Canary Mission website

     because of her involvement in pro-Palestinian protests, and has received hundreds

     of threatening and hateful emails.

  132.      Professors, at Penn and nationwide, are left wondering whether it is any

     longer safe to teach courses about the history of colonialism, or to present a




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     nuanced view in a classroom of the history of the Middle East.

  133.      There has not been such a grotesque limitation on academic freedom since

     the McCarthy era.

  134.      The House Committee's relentless attack on academic freedom at Penn is

     in fact consistent with other declared goals of the Congresspeople involved and

     their party, to eliminate diversity, equity, and inclusion and all “woke” ideas in

     higher education.

  135.      As an idea of “Communism” was in the McCarthy era, so is “anti-

     Semitism” being used today, as a crowbar to break through many doors.



           DOXXING AND THE NEW MCCARTHYISM

  136.      There is a direct, diseased relationship between the House Committee's

     operations and the Internet practice of “doxxing”, in that the House Committee

     has already utilized false information from doxxing sites in its work (for example,

     the allegations made against plaintiff Fakhreddine by two congressfolk)-- and the

     likelihood that the confidential information about members of the academic

     community disclosed pursuant to the Information Letter by Penn will lead to the

     immediate doxxing by Canary Mission and other hateful sites of the students and

     faculty named.

  137.      In the history of technology, there have been numerous instances of new,

     important means of expressions and communication which legislatures and courts

     took decades to understand.

  138.      For example, copyright laws were originally held inapplicable to movies



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     and music performed on player pianos; the First Amendment likewise was held

     inapplicable to film; case-law early in the history of the Internet struggled with

     questions such as whether emails were writings, or whether the First Amendment

     applied to content posted on web sites.

  139.      Doxxing via social media is another technology development to which the

     laws and courts have not yet caught up.

  140.      Doxxing is a “social engineering” tactic in which a targeted individual is

     exposed to unwelcome mass attention, with the aim of getting them fired from a

     job, expelled from a university, denied opportunities to speak or write, and

     ostracized socially.

  141.      The allegations made against them are often entirely false, such as the

     accusations of anti -Semitism made against Plaintiffs herein.

  142.      Doxxing sites usually also offer the public the target's name, address, and

     other affiliations such as employer or university-- and specifically call upon users

     to contact them.

  143.      The intent of the doxxers is to encourage anonymous followers of the sites,

     many of them apparently sociopathic, to barrage the targeted individual with

     death and rape threats and hate speech, and also to contact their bosses, co-

     workers, and families.

  144.      Doxxing sites often include highly edited videos or screenshots taken

     completely out of context, to create false versions of the target's opinions or

     relationship to events, as well as subtitles making sweeping, false assertions, such

     as a claim the individual supports murder, rape and terrorism.




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  145.      Doxxing as social engineering is not even limited to activist targets;

     individuals with no involvement in advocacy or protest have been fired from their

     jobs after a single social media post criticizing Israel or expressing compassion

     for the people of Gaza.

  146.      Courts in their bewilderment about doxxing have sometimes reached the

     conclusion that calling someone an anti-Semite online is a mere nondefamatory

     expression of opinion protected by the First Amendment, missing the huge

     element of intentional tortious harm inflicted on the victim.

  147.      Doxxers, to the contrary, are using the new technologies of social media to

     do indirectly what they could not do directly: they cannot legally issue true threats

     against their targets, but by doxxing them they knowingly and solicit anonymous

     followers to do so.

  148.      When the courts catch up to the realities of doxxing, they should hold it to

     be tortious, the intentional infliction of serious harm on the targeted person.

  149.      Doxxing as “social engineering” has been hugely successful to date,

     obtaining the firing, suspension or expulsion, cancellation of opportunities for

     participation or public speaking at venues and events, and social ostracism of the

     victims, as well as making their lives a living hell as they are barraged with death

     and rape threats, and everyone around them receives frightening anonymous

     emails, phone calls and text messages.

  150.      Penn and numerous other universities have already fired and sanctioned

     members of their academic communities based solely on doxxing “evidence”.

  151.      Plaintiff Fakhreddine and numerous members of PFJP have been doxxed



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     as a result of their First Amendment-protected speech and have received death and

     rape threats.

  152.      There is truly nothing new under the sun: in the 1950's, a half century

     before social media, the tactics of McCarthyism included a forerunner of doxxing:

     people subpoenaed or mentioned by HUAC would be fired from their jobs, and

     also those whose names were bandied about in an influential private publication,

     Counterattack.

  153.      Counterattack magazine and the notorious “Red Channels” report it

     published were the 1950's predecessor of a doxxing website, listing the names of

     actors, directors, screenwriters and other workers in the entertainment industry

     with the intention, usually successful, of ending their careers.

  154.      In so doing, Counterattack, founded by former FBI agents, supported the

     work of HUAC.

  155.      That secretive, diseased relationship is recapitulated today by the mutual

     support between doxxing sites such as the anonymous Canary Mission and the

     House Committee.



              PERMANENT INJUNCTION STANDARDS

  156.      Penn's continuing cooperation with, and disclosure of private and

     confidential information about Plaintiffs to the House Committee, threatens all

     Plaintiffs with the irreparable harm of a renewed and continued barrage of death

     threats and hate speech, and also with exposure of members of PFJP who have not

     previously been doxxed.




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  157.      Student records cannot be disclosed without consent under the Family

     Educational Rights and Privacy Act (FERPA), 20 U.S.C. 1232g.

  158.      The House Committee via the Information Letter is requesting the

     disclosure of student information by Penn deemed confidential under FERPA,

     such as student disciplinary records.

  159.      Student members of PFJP and other students similarly situated have

     neither been asked by Penn for their consent, nor do they consent to such

     disclosure to the House Committee.

  160.      Student disciplinary records are confidential under Penn's rules as well as

     FERPA, and Penn assures students they can nerver be disclosed rto their parties'

     without the student's consent, even as it now is releasing such records voluntarily

     to the House Committee.

  161.      Student disciplinary records contain information about the student which is

     hurtful, embarassing, would subject them to public censure, and interfere with

     their ability to obtain or keep gainful employment.

  162.      Penn's voluntary production of student disciplinary files to the House

     Committee shocks the conscience.

  163.      Although Penn claims that student files have been “redacted”, the extent to

     which this has actually been done is a fact issue awaiting discoivery.

  164.      Redacting a student disciplinary record merely by blacking out the name

     would be inadequate, as the file also contains where/ what/ when information that,

     by associating rthe student with a time, place and incident, would easily permit

     their identification by the House Committee or Internet trolls-- a task in wjhich



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             they delight and excel.

         165.       Also, Congressperson Fox, Chair of the House Committee, has previously

             stated that the redacting of files is not considered compliance with the House

             Committee. In a March 6, 2024 press release, she stated: “I don’t know if its

             arrogance, ineptness, or indifference that’s guiding Harvard. Regardless, its

             actions to date are shameful...Harvard has absolutely failed to comply in good

             faith with the Committee’s subpoena for information about antisemitism on its

             campus... Heavy redactions throughout the production made several documents

             useless. The Committee is weighing an appropriate response to Harvard’s

             malfeasance.”

https://edworkforce.house.gov/news/documentsingle.aspx?DocumentID=410218

         166.       Disclosure of their records to the Committee will result in Plaintiffs, the

             individuals and faculty and student members alike, inevitable being falsely

             condemned and exposed on doxxing sites, with the concomitant barrage of death

             threats and hate speech directed to them, their peers, relatives, deans, or

             professors.

         167.       In fact, disclosure of Plaintiffs' confidential information to the public by

             the Committee is itself a form of doxxing, which will result in public exposure in

             a false light, and bring a flood of unwelcome and threatening attention, with

             consequences for their safety, stability, mental health, academic freedom, and

             educational and career prospects.

         168.       Plaintiffs have a likelihood of success on the merits, based on the patent

             unconstitutionality of the IHRA standards, the overbreadth of the Information




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     Letter, and their strong claims that the Information Letter has no valid legislative

     purpose, and is a weapon of First Amendment retaliation and viewpoint

     discrimination.

  169.      Penn had no legal duty to comply with the Information letter, which is not

     a subpoena, and its voluntary production of confidential documents referencing

     Plaintiffs is wroingful and violative of Plaintiff's Constitutional, federal statutory

     and Pennsylvania rights.

  170.      A balancing of the equities favors Plaintiffs, in that grant of a permanent

     injunction against the disclosure of documents works no harm whatever on Penn,

     while the denial of the injunction will be devastating for Plaintiffs.



                        FIRST CAUSE OF ACTION

                             First Amendment

  171.       Paragraphs 1 through 170 are re-alleged.

  172.      Penn, by cooperating with the Committee's gross infringements of

     Plaintiffs' First Amendment rights, is aiding and abetting those violations.

  173.      The Committee is a government actor directly subject to the First

     Amendment.

  174.      Penn, by cooperating with the Committee, is merging with, in effect

     becoming the tool and instrumentality used by a government actor-- thereby

     becoming a government actor itself.

  175.      The Committee and Penn are engaging in and threatening two egregious

     violations of Plaintiffs' First Amendment rights, in that they are committing and



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     threatening First Amendment retaliation and viewpoint discrimination.

  176.      In an act of retaliation for protected speech, the Committee and Penn are

     punishing, threatening, censoring, frightening and chilling Plaintiffs for their

     expression of protected, pro-Palestinian political and moral views.

  177.      In an act of viewpoint discrimination, the Committee and Penn are

     privileging, protecting and endorsing pro-Israeli speech in the Penn academic

     community over pro-Palestinian speech.



                      SECOND CAUSE OF ACTION

                            14th AMENDMENT

  178.      Paragraphs 1 through 177 are re-alleged.

  179.      The 14th Amendment creates powerful rights of privacy for students and

     faculty Plaintiffs alike and for others similarly situated.

  180.      The Committee via the Information Letter is requesting the disclosure of

     both faculty and student information by Penn which is confidential under the 14 th

     Amendment, such as student disciplinary records and faculty personal

     communications and writings.



                        THIRD CAUSE OF ACTION

                    Pennsylvania Constitution – Privacy

  181.      Paragraphs 1 through 180 are re-alleged.

  182.      The Pennsylvania Constitution creates powerful rights of privacy for

     students and faculty Plaintiffs alike and for others similarly situated.




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  183.      The Committee via the Information Letter is requesting the disclosure of

     both faculty and student information by Penn which is confidential under the

     Pennsylvania Constitution, such as student disciplinary records and faculty

     personal communications and writings.



                       FOURTH CAUSE OF ACTION

                             Breach of Contract

  184.      Paragraphs 1 through 183 are re-alleged.

  185.      Penn made specific promises and assertions to all Plaintiffs regarding

     diversity, freedom of speech, academic freedom, and good faith and fair dealing,

     in its contracts, student and faculty manuals,         on its web sites, and in

     pronouncements and assertions in writing by officers and others authorized to

     speak for Penn.

  186.      Penn's Faculty Handbook contans Section IIA, Academic Freedom and

     Responsibility, which states: “It is the policy of the University of Pennsylvania to

     maintain and encourage freedom of inquiry, discourse, teaching, research, and

     publication and to protect any member of the academic staff against influences,

     from within or without the University, which would restrict a member of the

     academic staff in the exercise of these freedoms in their area of scholarly

     interest.....The teacher is entitled to freedom in the classroom in discussing their

     subject”. https://catalog.upenn.edu/faculty-handbook/ii/ii-a/

  187.      Penn also has implemented “Guidelines on Open Expression” for its

     students, which states: “The University of Pennsylvania, as a community of



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     scholars, affirms, supports and cherishes the concepts of freedom of thought,

     inquiry, speech, and lawful assembly. The freedom to experiment, to present and

     examine alternative data and theories; the freedom to hear, express, and debate

     various views; and the freedom to voice criticism of existing practices and values

     are fundamental rights that must be upheld and practiced by the University in a

     free society”. https://catalog.upenn.edu/pennbook/open-expression/

  188.       These statements constitute serious, material, specific commitments made

     by Penn to its faculty members and students enforceable by law.

  189.       Plaintiffs Fakhreddine, Powell and the members of PFJP relied on these

     promises, faculty by accepting employment at Penn, students by paying tuition to

     Penn.

  190.       By cooperating with and disclosing information about them to the

     Committee, Penn is intentionally exposing Plaintiffs to public threats, hate speech

     and physical danger, all as an act of retaliation and of viewpoint discrimination

     against them for their First Amendment-protected criricism of Israel and pro-

     Palestinian expression.

  191.         Penn has refused and failed to carry out the duties it assumed towards

     Plaintiffs by these binding terms and conditions of its contracts, manuals and

     materials, and under its obligation of good faith and fair dealing towards them.



                       FIFTH CAUSE OF ACTION

                         42 USC 1985- Conspiracy

  192.       Paragraphs 1 through 191 are realleged.




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  193.      Defendant conspired together with the House Committee             to deprive

     Plaintiffs of their civil rights in violation of 42 U.S.C. § 1985(3).

  194.      The House Committee intentionally and illegitimately targeted the

     Plaintiffs for their criticism of Israel and for personal political advantage of the

     members, for their First Amendment-protected criticism of Israel and support of

     the Palestinian people.

  195.      The House Committee engaged in willful acts of defamation against

     Plaintiff Fakhreddine, accusing her falsely of antisemitism and demanding she be

     fired from the University.

  196.      The House Committee members in invoking Plaintiff Fakhreddine's name

     on national television, knew, expected and were satisfied that Plaintiff

     Fakhreddine would receive death threats and hate speech to her opublic and

     private email and telephones as a result.

  197.      Defendant by voluntarily providing documents and information about

     Plaintiff Fakhreddine to the House Committee is knowingly supporting this

     tortious, unconstitutional and illegal attack on her and is therefore a co-

     conspirator.

  198.      Similarly, by voluntarily providing names, documents and files on other

     Plaintiffs and the organizational Plaintiff itself and its members, Defendant is

     knowingly supporting and conspiring in the House Committee's malicious

     invocation of death threats and hate speech against these Plaintiffs.

  199.      The conspirators intended their actions to have adverse effects upon an

     identifiable group—namely, pro-Palestinian activists and critics of Israel.



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           200.       The conspiracy targeted protected rights of Plaintiffs, who are           pro-

               Palestinian activists and critics of Israel.

           201.       The conspiracy targeted Plaintiffs’ protected First Amendment activities.

               Because Defendants held animus towards Plaintiffs’ viewpoints. The actions of

               the conspirators directly and unlawfully interfered with these activities.

           202.       The conspiracy violently interfered with Plaintiffs’ right to use public

               accommodations, as the receipt of death threats and hate speech make Plaintiffs

               feel unsafe in public places.



        WHEREFORE, on all Causes of Action, Plaintiffs demand damages in an amount to be

determined by this Court, as to documents referencing them already produced to the House

Committee; the issuance of a permanent injunction enjoining Penn from complying with the

Information Letter, as to such documents not already produced; a declaratory judgment pursuant

to F.R.C.P. 57 and 28 U.S. Code § 2201, declaring the rights and other legal relations of the

parties; together with such other and further relief as may be just and proper

Dated: July 5, 2024
                                                        Respectfully Submitted,

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